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Attorneys for Plaintiffs

                             IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF IDAHO

THE ASSOCIATED PRESS; THE                             Case No. 1:24-cv-00587-DKG
MCCLATCHY COMPANY, LLC, dba The
Idaho Statesman; and EAST-IDAHO-                      PLAINTIFFS’ MOTION FOR
NEWS.COM, LLC, dba East Idaho News,                   PRELIMINARY INJUNCTION

                       Plaintiffs,

         v.

JOSH TEWALT, in his official capacity as the
Director of the Idaho Department of
Correction,

                       Defendant.


         Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiffs the Associated

Press, the McClatchy Company, LLC, dba The Idaho Statesman, and East-Idaho-News.Com

LLC, dba East Idaho News, move the Court for the entry of a preliminary injunction or, in the

alternative, a temporary restraining order, against Defendant Josh Tewalt, in his official capacity

as the Director for the Idaho Department of Correction.

         For the reasons set forth in the accompanying memorandum and Declarations of Rebecca

Boone, Chadd Cripe, and Nate Sunderland, Plaintiffs respectfully request that the Court enter a

preliminary injunction or temporary restraining order prohibiting the Defendant from restricting

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access to the Medical Team Room leading up to, during, and immediately after any future

executions of condemned individuals. Plaintiffs are requesting visual and audio access to the

Medical Team Room that is similar to the access already provided to the Execution Preparation

Room or the Execution Chamber.


DATED: December 6, 2024                           STOEL RIVES LLP


                                                  /s/ Wendy J. Olson
                                                  Wendy J. Olson
                                                  Anders Pedersen

                                                  Attorneys for Plaintiffs The Associated Press,
                                                  the Idaho Statesman, and East Idaho News




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